DOCUMENTS UNDER SEAL
                      Case 3:21-cr-00402-RS Document 12 Filed 11/04/21 Page 1 of
                                                            TOTAL TIME (m ins):
                                                                                   1
                                                                                00:10
M AGISTRATE JUDGE                        DEPUTY CLERK                             REPORTER/',*,7$/5(&25',1*
M INUTE ORDER                            Ada Means                                10:49-10:59
MAGISTRATE JUDGE                         DATE                                     NEW CASE         CASE NUMBER
Jacqueline Scott Corley                  November 4, 2021                                          CR21-0402-RS-02
                                                     APPEARANCES
DEFENDANT                                AGE       CUST  P/NP   ATTORNEY FOR DEFENDANT                  PD.       RET.
Victor Makras                                       N       P      John Keker/Jan Little                APPT.
U.S. ATTORNEY                            INTERPRETER                            FIN. AFFT             COUNSEL APPT'D
David Ward                               Not required                           SUBMITTED

PROBATION OFFICER           PRETRIAL SERVICES OFFICER               DEF ELIGIBLE FOR             PARTIAL PAYMENT
                            Josh Libby                              APPT'D COUNSEL               OF CJA FEES
                                       PROCEEDINGS SCHEDULED TO OCCUR
       INITIAL APPEAR             PRELIM HRG       MOTION           JUGM'T & SENTG                         STATUS
      00:06                                                                                                TRIAL SET
       I.D. COUNSEL               ARRAIGNMENT             BOND HEARING           IA REV PROB. or           OTHER
      00:01                   00:03                                              or S/R
       DETENTION HRG              ID / REMOV HRG          CHANGE PLEA            PROB. REVOC.              ATTY APPT
                                                                                                           HEARING
                                                    INITIAL APPEARANCE
        ADVISED                ADVISED                   NAME AS CHARGED            TRUE NAME:
        OF RIGHTS              OF CHARGES                IS TRUE NAME
                                                        ARRAIGNM ENT
       ARRAIGNED ON                ARRAIGNED ON             READING W AIVED                W AIVER OF INDICTMENT FILED
       INFORMATION                 INDICTMENT               SUBSTANCE
                                                         RELEASE
      RELEASED            ISSUED                    AMT OF SECURITY        SPECIAL NOTES              PASSPORT
      ON O/R              APPEARANCE BOND           $ 0.00                                            SURRENDERED
                                                                                                      DATE:
PROPERTY TO BE POSTED                         CORPORATE SECURITY                      REAL PROPERTY:
    CASH    $


      MOTION           PRETRIAL               DETAINED          RELEASED      DETENTION HEARING            REMANDED
      FOR              SERVICES                                               AND FORMAL FINDINGS          TO CUSTODY
      DETENTION        REPORT                                                 W AIVED
ORDER REMOVED TO THE DISTRICT OF
                                                           PLEA
   CONSENT                     NOT GUILTY                 GUILTY                   GUILTY TO COUNTS:
   ENTERED
   PRESENTENCE                 CHANGE OF PLEA             PLEA AGREEMENT           OTHER:
   REPORT ORDERED                                         FILED
                                                        CONTINUANCE
TO:                               ATTY APPT                BOND                  STATUS RE:
November 16, 2021                 HEARING                  HEARING               CONSENT                 TRIAL SET

AT:                               SUBMIT FINAN.            PRELIMINARY           CHANGE OF              67$786
                                  AFFIDAVIT                HEARING               PLEA
2:30 p.m.                                                  BBBBBBBBBBBBB
BEFORE HON.                       DETENTION                $55$,*1MENT           MOTIONS                 JUDGMENT &
                                  HEARING                                                                SENTENCING
Seeborg
        TIME W AIVED              TIME EXCLUDABLE          IDENTITY /            PRETRIAL                PROB/SUP REV.
                                  UNDER 18 § USC           REMOVAL               CONFERENCE              HEARING
                                  3161                     HEARING
                                               ADDITIONAL PROCEEDINGS
Due to the Covid-19 pandemic, all parties appeared by Zoom videoconference. Defendant consents to proceed by Zoom.
Defendant was advised of the conditions of his bond this date. DPPA advised.
CC: JSC & RS
                                                                                      DOCUMENT NUMBER:
